Case 1:04-cv-10981-PBS Document 1679-26 Filed 02/23/09 Page 1 of 4




                      EXHIBIT 25
   Case 1:04-cv-10981-PBS Document 1679-26 Filed 02/23/09 Page 2 of 4

                                                  Krancer, Pamela APN (Smith prescriber) 6/8/2007 5:00:00 PM
                                                         -                                                                           3

   1      IN THE UNITED STATES DISTRICT COURT                 1                    INDEX
           FOR THE DISTRICT OF MASSACHUSETTS
                                                              2    WITNESS: PAMELA KRANCER
   2
   3   IN RE: NEURONTIN MARKETING, SALES )                    3               INDEX OF EXAMINATIONS
       PRACTICES AND PRODUCTS LIABILITY )                     4                                    Page/Line
   4   LITIGATION                    )
                              )                               5    By Mr. Lanier .......................     6       2
   5   __________________________         )                   6    By Mr. Ferguson ..................... 18              3
                             )
                                                              7    By Mr. Lanier ....................... 32 11
   6                         )
                             ) CASE NO.                       8    By Mr. Ferguson ..................... 36 12
   7                         ) 04-10981                       9                 INDEX OF EXHIBITS
       THIS DOCUMENT RELATES TO:            )
   8                         )                                10                                   Page/Line
       RUTH SMITH, Individually and as )                      11   No. 1 .............................. 10 18
   9   Widow for the use and benefit of )
                                                              12   No. 2 .............................. 19       3
       herself and the next of kin of )
  10   Richard Smith, deceased.         )                     13
                             )                                14
  11   05-CV-11515                   )
                             )                                15
  12                                                          16
  13
                                                              17
  14     DEPOSITION OF
  15     PAMELA KRANCER, APN                                  18
  16     Taken on Behalf of the Plaintiffs                    19
  17     June 8, 2007
  18                                                          20
  19                                                          21
  20
                                                              22
  21
  22                                                          23
  23                                                          24
  24
  25                                                          25



                                                         2                                                                           4

   1   APPEARANCES:                                           1
   2   For the Plaintiff:
                                                              2              The deposition of PAMELA KRANCER,
   3        MARK LANIER
            DARA HEGAR                                        3    APN, taken on behalf of the Plaintiffs, on the 8th
   4        PATRICK O'HARA                                    4    day of June, 2007, in the offices of Howell Allen
            Lanier Law Firm
   5        6810 F.M. 1960 West                               5    Clinic, 2011 Murphy Avenue, Suite 401, Nashville,
            Houston, Texas 77069                              6    Tennessee, for all purposes under the Federal
   6        713.659.5200
            713.659.6416                                      7    Rules of Civil Procedure.
   7        wml@lanierlawfirm.com                             8              The formalities as to notice,
   8       ANDREW G. FINKELSTEIN
                                                              9    caption, certificate, et cetera, are waived. All
            Finkelstein & Partners
   9       436 Robinson Avenue                                10   objections, except as to the form of the
            Newburgh, New York 12550
                                                              11   questions, are reserved to the hearing.
  10       800.634.1212
            afinkelstein@lawampm.com                          12             It is agreed that Elisabeth A.
  11                                                          13   Miller, being a Notary Public and Court Reporter
  12   For the Defendant:
  13        KENNETH J. FERGUSON                               14   for the State of Tennessee, may swear the witness,
            Clark, Thomas & Winters                           15   and that the reading and signing of the completed
  14        P.O. Box 1148
            Austin, Texas 78767                               16   deposition by the witness are waived.
  15        512.472.8800                                      17
            512.474.1129
  16        kjf@ctw.com                                       18
  17                                                          19
       Also Present: Jason Powers, Videographer
                                                              20                    ***
  18
  19                                                          21
  20                                                          22
  21
  22                                                          23
  23                                                          24
  24
  25                                                          25




Neurontin Track One (Plaintiff / Prescriber / Expert Depos)                                                                  Page - - 4
   Case 1:04-cv-10981-PBS Document 1679-26 Filed 02/23/09 Page 3 of 4

                                                            Krancer, Pamela APN (Smith prescriber) 6/8/2007 5:00:00 PM
                                                                   9                                                                      11

   1   you're being deposed.                                            1    samples --
   2   A.    Uh-huh.                                                    2    A.      Uh-huh.
   3   Q.    The Smiths have brought a claim against                    3    Q.      -- some notes about what you've had to say
   4   the makers of Neurontin claiming, in essence, that               4    during the calls and things like that. Do you see
   5   the makers of Neurontin were not telling you                     5    those in front of you?
   6   medical people all that they knew or all that was                6    A.      Yes, I do.
   7   important about their drug and that they were                    7    Q.      Is it typical for you to receive -- I
   8   pushing their drug for off-label indications with                8    think the word is detailing, by drug reps in your
   9   you folks.                                                       9    job as a nurse?
  10        It is also a contention in this case that                   10   A.      Yes.
  11   our scientists -- and we believe even their                      11   Q.      Okay. When the drug reps come to you, I
  12   scientists will show -- that as a drug, Neurontin                12   assume they're coming because they want to detail
  13   reduces the serotonin and the norepinephrine in                  13   you or tell you details about their drugs and
  14   the brain, and so it takes someone who either may                14   their products so that you know what you've got to
  15   be depressed already and makes them -- it                        15   help with your patients; is that fair?
  16   aggravates the depression. Or it also takes                      16   A.      That's fair.
  17   someone and causes them to lose impulse control,                 17   Q.      And I assume that's something that you
  18   which, when you add it to depression, increases                  18   and -- much like the doctors we've talked to so
  19   the risk of suicide.                                             19   far, rely on?
  20        So those are our contentions.                               20   A.      Uh-huh.
  21        I'm not asking you questions as a medical                   21   Q.      And I don't mean to be rude, but uh-huh is
  22   expert in this case, and I'll stay away from those               22   yes?
  23   because you haven't been retained by either party.               23   A.      Oh, I'm sorry, yes.
  24        I just need to know from you, I                             24   Q.      When Elisabeth types it, the uh-huhs and
  25   understand -- and I need a time out so he can                    25   huh-uhs sometimes read the same, so I want to make



                                                                  10                                                                      12

   1   object, because all of that is background that I'm               1    sure I've got it.
   2   not allowed to put into a question.                              2    A.      Yes.
   3            MR. LANIER: Do you want to lodge an                     3    Q.      Is it important to you that the detailing
   4   objection and -- I'll stipulate that's not a                     4    by the drug reps be honest and forthright?
   5   question.                                                        5    A.      Yes.
   6            MR. FERGUSON: I was going to wait                       6    Q.      Do you expect them to tell you the good
   7   until you put out a question. I will object to                   7    and the bad about their drugs?
   8   the narrative comments. Please proceed.                          8    A.      Yes. Can I interject here or --
   9            MR. LANIER: Thank you. I'll start                       9    Q.      Sure.
  10   clean with a question.                                           10   A.      I don't prescribe a drug strictly on what
  11   BY MR. LANIER:                                                   11   a rep tells me.
  12   Q.    Ma'am, I have here what I'm going to mark                  12   Q.      Okay.
  13   as Exhibit No. 1, and these are call notes that                  13   A.      I feel that no matter what a rep tells me,
  14   have been provided to us by the Neurontin folks                  14   that before I prescribe the drug, hopefully, that
  15   that show us when they made calls on you to talk                 15   I'm educated on it, before I -- before I prescribe
  16   to you about their drug.                                         16   it.
  17   A.    Okay.                                                      17   Q.      Fair enough.
  18            (Marked Exhibit No. 1.)                                 18   A.      Is that --
  19   BY MR. LANIER:                                                   19   Q.      Yeah, that makes sense.
  20   Q.    You will see they've got dates --                          20   A.      Okay.
  21   A.    Uh-huh.                                                    21   Q.      By the same token, you do listen to the
  22   Q.    -- they've got the name of the rep, Ashley                 22   reps?
  23   Pippin --                                                        23   A.      Yes.
  24   A.    Uh-huh.                                                    24   Q.      And you do take into account what they
  25   Q.    -- typically; when they left you                           25   tell you, I would assume?




Neurontin Track One (Plaintiff / Prescriber / Expert Depos)                                                                       Page 9 - 12
   Case 1:04-cv-10981-PBS Document 1679-26 Filed 02/23/09 Page 4 of 4

                                                            Krancer, Pamela APN (Smith prescriber) 6/8/2007 5:00:00 PM
                                                                  13                                                                     15

   1   A.      Correct.                                                 1    represcribed it for him.
   2   Q.      I mean, I look at these visits. It looks                 2    Q.     Okay. If you had known about the side
   3   to me like, clearly, you do have a regular pattern               3    effects that I've discussed, if it had been
   4   of visiting, to some degree at least, with the                   4    brought to your attention that this drug is
   5   reps; is that fair?                                              5    associated with increases in depression and
   6   A.      That's fair.                                             6    suicide, would you have taken into account that
   7   Q.      Okay. Now, did the reps ever tell you                    7    information before you prescribed this drug?
   8   that Neurontin was associated with reduction in --               8             MR. FERGUSON: Object to form.
   9   well, let's start with serotonin. Did they ever                  9             THE WITNESS: I guess being -- not
  10   tell you that?                                                   10   being a psychiatrist or a psychologist or even a
  11   A.      Not that I remember.                                     11   psychiatric nurse, I have to be honest in the fact
  12   Q.      Do you remember them ever telling you                    12   that I -- I always consider any drug that I give
  13   Neurontin was associated with a reduction in                     13   somebody that I feel is truly depressed, but I
  14   norepinephrine?                                                  14   don't -- you know, I probably would have thought
  15   A.      Not that I remember.                                     15   about it a little bit harder.
  16   Q.      Do you remember them ever telling you                    16   BY MR. LANIER:
  17   that, long before they visited with you, in fact,                17   Q.     Might have at least thought about giving
  18   before they started selling the drug, the FDA had                18   some warnings or some information about, hey, if
  19   written them up saying that an increase in                       19   you think this is causing you to be more depressed
  20   depression and an increase in suicides are some of               20   or something, would you please contact someone,
  21   the concerns that need to be addressed with the                  21   some medical help?
  22   drug?                                                            22            MR. FERGUSON: Object to form.
  23             MR. FERGUSON: Excuse me, object to                     23   BY MR. LANIER:
  24   form.                                                            24   Q.     Is that fair to say?
  25             You may go.                                            25   A.    I probably would have added it to my



                                                                  14                                                                     16

   1             THE WITNESS: Not that I remember.                      1    education, yes, sir.
   2   BY MR. LANIER:                                                   2    Q.     And by education, is that what you tell
   3   Q.      Okay. And that was in 1992 that the FDA                  3    patients when you give them drugs?
   4   did that, I'll represent to you.                                 4    A.    I try to educate them on side effects of
   5        In 2002, the FDA approved the drug for                      5    medication before I give it to them, yes, sir.
   6   another usage, and in the process, said that                     6    Q.     Why is that important, nurse?
   7   they're -- other than the problems that had                      7    A.    I think it's -- it's part of good patient
   8   already been pointed out, 1992, there hadn't been                8    care in the fact that I think that people have a
   9   any other problems. But even in 2002, did they                   9    right to know what medications might do to them
  10   tell you about these earlier problems?                           10   and that -- you know, it's not only -- because
  11             MR. FERGUSON: Object to the                            11   people don't understand, and I think that it's
  12   narrative. I'm sorry. Excuse me.                                 12   important to not only know the side effects but to
  13             THE WITNESS: No, that's fine.                          13   know interactions with other medications that
  14             MR. FERGUSON: Okay.                                    14   might -- you know, that they might develop side
  15             THE WITNESS: Not that I remember.                      15   effects with.
  16   BY MR. LANIER:                                                   16   Q.     How well did you know Richard Smith
  17   Q.      Did you actually write prescriptions                     17   yourself?
  18   yourself for Richard Smith?                                      18   A.    I'm afraid not that well. I had seen him
  19   A.      Yes, I did.                                              19   a few times by myself. I saw him in the office, I
  20   Q.      And you wrote prescriptions for Neurontin?               20   think, two or three times, and then Dr. McCombs
  21   A.      Yes. It had been previously prescribed by                21   saw him after I saw him the last time. And -- but
  22   Dr. McCombs. And when I saw Mr. Smith, it had                    22   well enough that I know him and his -- knew --
  23   been prescribed for Mr. Smith in 2003 by                         23   Q.     Okay.
  24   Dr. McCombs. And then when I saw him back in 2004                24   A.    I've taken -- I took care of him, because
  25   in March and he was having similar symptoms, I                   25   I -- he was on their service for the -- you know,




Neurontin Track One (Plaintiff / Prescriber / Expert Depos)                                                                     Page 13 - 16
